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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                  )
                                            )
               Plaintiff,                   )
                                            )
 v.                                         )              Case No. 08-CR-197-JHP-2
                                            )
 MARCO A. HENDRICKSON,                      )
                                            )
               Defendant.                   )

                                   OPINION AND ORDER

        Before the Court are (1) Defendant Marco A. Hendrickson’s (“Defendant”) motion to

 vacate, set aside, or correct sentence by a person in federal custody brought pursuant to 28

 U.S.C. § 2255 (Doc. No. 205); (2) Defendant’s brief in support of his § 2255 motion (Doc. No.

 219); (3) Defendant’s pro se supplemental § 2255 motion (Doc. No. 220); and (4) the

 Government’s motion to dismiss Defendant’s § 2255 motion as supplemented (Doc. No. 232).

 Defendant seeks relief pursuant to the United States Supreme Court’s decision in Johnson v.

 United States, 135 S. Ct. 2551 (2015). The Government opposes Defendant’s motion and urges

 the Court to dismiss the motion, as supplemented. For the reasons cited herein, Defendant’s

 motion pursuant to § 2255, as supplemented, is DENIED and the Government’s motion to

 dismiss is GRANTED.

                                       BACKGROUND

        In 2009, Defendant pleaded guilty to interfering with commerce and aiding and abetting,

 in violation of 18 U.S.C. § 1951 and § 2 (Count One) and possession of firearms in furtherance

 of a crime of violence, in violation of 18 U.S.C. § 924(c) (Count Three). (Doc. Nos. 2, 57). In

 advance of sentencing, the United States Probation Office prepared a Presentence Investigation

 Report (“PSR”) as to Defendant, in which it was recommended he be classified as a career


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 offender under the United States Sentencing Guidelines (“USSG” or “Guidelines”). (PSR ¶ 19).

 Defendant was classified as a career offender because (1) the offense of conviction in Count One

 was a felony crime of violence and (2) he had prior convictions for two crimes of violence and

 one controlled substance offense. (PSR ¶ 19). Defendant’s predicate career offender convictions

 are (1) Possession of Illegal Sawed-Off Shotgun (McCurtain County County Case No. CF-1999-

 217), (2) Unlawful Possession of Marijuana with Intent to Distribute (McCurtain County Case

 No. CF-1999-301), and (3) Escape from County Jail (McCurtain County Case No. CF-2000-

 281). (PSR ¶ 19). On April 29, 2009, pursuant to the recommendation in the PSR, this Court

 sentenced Defendant to 151 months of imprisonment on Count One and 120 months of

 imprisonment on Count Three, with the terms to run consecutively. (Doc. No. 76).

        Defendant filed an untimely direct appeal, which the Tenth Circuit dismissed. (Doc. No.

 100). Thereafter, Defendant filed a § 2255 motion, alleging ineffective assistance of counsel for

 (1) failing to file a timely notice of appeal, (2) failing to challenge the career offender

 enhancement, and (3) failing to object to imposition of a mandatory minimum sentence in Count

 Three. (Doc. Nos. 104, 105, 137). Following an evidentiary hearing, this Court denied the §

 2255 motion. (Doc. No. 162).       Defendant appealed this Court’s ruling on the issue of the

 mandatory minimum sentence in Count Three. The Tenth Circuit affirmed. United States v.

 Hendrickson, 592 F. App’x 699 (10th Cir. 2014).

        Defendant then filed a second § 2255 motion, which is now pending before the Court.

 (Doc. No. 205). In his pending § 2255 motion, Petitioner seeks to change his career offender

 designation based on the Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551

 (2015). While this motion was pending, Defendant filed a motion in the Tenth Circuit seeking

 authorization to file a second § 2255 motion in district court based on the Johnson claim, which



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 the Tenth Circuit granted. (Doc. No. 215). The Tenth Circuit further advised this Court to

 consider Defendant’s unauthorized § 2255 motion.

        On June 22, 2016, The Court appointed the Office of the Federal Public Defender to

 represent Defendant. (Doc. No. 217). On the same day, Defendant’s attorney submitted a brief

 in support of his § 2255 motion. (Doc. No. 219). On June 27, 2016, Defendant submitted a pro

 se supplement to his § 2255 motion. (Doc. No. 220). The Government then sought to stay

 litigation in this proceeding until the United States Supreme Court issued a decision in Beckles v.

 United States, No. 15-8544. Following the Supreme Court’s decision in Beckles, 137 S. Ct. 886

 (2017), the Court found the Government’s motion to stay litigation to be moot and ordered the

 Government to respond to the § 2255 motion. The Government filed a motion to dismiss the §

 2255 motion as supplemented on April 27, 2017. (Doc. No. 232). Neither Defendant nor his

 counsel filed a response to the Government’s motion.

                                          DISCUSSION

        In Johnson, the United States Supreme Court established that the “residual clause” of the

 Armed Career Criminal Act, 18 U.S.C. § 924(e) (“ACCA”) was unconstitutionally vague. 135

 S. Ct. at 2557. The ACCA provides a fifteen-year mandatory minimum sentence for a person

 who is convicted as a felon in possession of a firearm, 18 U.S.C. § 922(g)(1), and has three prior

 convictions for violent felonies or serious drug offenses. 18 U.S.C. § 924(e)(1). The now-

 defunct “residual clause” of the ACCA defines a “violent felony” to include an offense that

 “otherwise involves conduct that presents a serious potential risk of physical injury to another.”

 18 U.S.C. § 924(e)(2)(B)(ii). The Supreme Court has since clarified that its decision under

 Johnson applies retroactively to cases on collateral review. Welch v. United States, 136 S. Ct.

 1257 (2016).



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        Defendant was not sentenced under the ACCA but rather was sentenced as a career

 offender under the 2008 version of USSG § 4B1.1, based on his having prior convictions for two

 “crimes of violence” and one “controlled substance offense.” (See PSR ¶ 19). However, the

 definition of “crime of violence” in the 2008 version of USSG § 4B1.2(a)(2) uses the same

 language as the ACCA’s “residual clause.”            Because the ACCA’s residual clause is

 unconstitutionally vague, Defendant now argues his sentence based on the residual clause of the

 “crimes of violence” definition should be vacated or set aside.

        As the Government points out, however, Defendant’s argument has since been foreclosed

 by the Supreme Court’s decision in Beckles, 137 S. Ct. 886 (2017). In Beckles, the Supreme

 Court held the Guidelines’ § 4B1.2(a) residual clause remains valid after Johnson, because the

 Guidelines are not subject to a vagueness challenge under the Due Process Clause. 137 S. Ct. at

 895.   Accordingly, Defendant cannot challenge his career offender sentence based on the

 unconstitutional vagueness of § 4B1.2’s residual clause. His predicate career offender offenses

 remain valid “crimes of violence.”

        In support of his motion, Defendant relies on authority from the Tenth Circuit, in which

 the Court found the residual clause of USSG § 4B1.2(a)(2) to be unconstitutionally vague in light

 of Johnson. See United States v. Madrid, 805 F.3d 1204, 1210 (10th Cir. 2015). However,

 Madrid’s holding was expressly abrogated by the Supreme Court in Beckles. 137 S. Ct. at 902

 and n.3 (Sotomayor, J. concurring) (noting that the majority opinion “upends the law of nearly

 every Court of Appeals to have considered this question,” citing Madrid as an example).

 Accordingly, Defendant is not eligible for retroactive relief under Johnson.

        Finally, in his pro se supplement to his § 2255 motion, Defendant argues for the first time

 that his underlying conviction for possessing a firearm in furtherance of a crime of violence, in



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 violation of 18 U.S.C. § 924(c), is itself invalid in light of Johnson, because his conviction for

 interference with commerce under 18 U.S.C. § 1951 is not a qualifying predicate crime of

 violence.   (Doc. No. 220, at 2).     The Court declines to consider this new issue raised in

 Defendant’s pro se supplement. Defendant is represented by counsel, Barry Derryberry, but he

 filed this supplement pro se. Defendant does not have the right to “hybrid” representation, and

 he cannot choose to represent himself on select issues. United States v. McKinley, 58 F.3d 1475,

 1480 (10th Cir. 1995); United States v. Bennett, 539 F.2d 45, 49 (10th Cir. 1976). The Court has

 discretion to consider pro se filings by a criminal defendant who is represented by counsel, but is

 not obligated to accept such filings. Bennett, 539 F.2d at 49. Here, the Court declines to

 consider any new issues that may be raised in Defendant’s pro se supplement (Doc. No. 220).

        Accordingly, the Government’s motion to dismiss is granted, and Defendant’s § 2255

 motion as supplemented is denied.

                                   EVIDENTIARY HEARING

        This Court is required by § 2255 to hold an evidentiary hearing “[u]nless the motion and

 the files and records of the case conclusively show that the prisoner is entitled to no relief.” 28

 U.S.C. § 2255. See also United States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988). With this

 standard as a guide, the Court has thoroughly reviewed the pleadings, files, and record in this

 case, and from that review, the Court finds the record conclusively shows that Defendant is

 entitled to no relief on his claims and an evidentiary hearing is unnecessary.

                             CERTIFICATE OF APPEALABILITY

        Rule 11 of the Rules Governing Section 2255 Proceedings instructs that “[t]he district

 court must issue or deny a certificate of appealability when it enters a final order adverse to the

 applicant.” Pursuant to 28 U.S.C. § 2253, the court may issue a certificate of appealability “only



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 if the applicant has made a substantial showing of the denial of a constitutional right,” and the

 court “indicate[s] which specific issue or issues satisfy [that] showing.” A petitioner can satisfy

 that standard by demonstrating that the issues raised are debatable among jurists, that a court

 could resolve the issues differently, or that the questions deserve further proceedings. Slack v.

 McDaniel, 529 U.S. 473, 483-84 (2000) (citing Barefoot v. Estelle, 463 U.S. 880, 893 & n.4

 (1983)).   After considering the record in this case, the Court concludes a certificate of

 appealability should not issue, as Defendant has not made a substantial showing of the denial of

 a constitutional right. The record is devoid of any authority suggesting that the Tenth Circuit

 Court of Appeals would resolve the issues in this case differently.

                                          CONCLUSION

        For the foregoing reasons, Defendant Marco A. Hendrickson’s motion to vacate, set

 aside, or correct sentence by a person in federal custody brought pursuant to 28 U.S.C. § 2255, as

 supplemented (Doc. Nos. 205, 220) is DENIED. The Government’s motion to dismiss (Doc.

 No. 232) is GRANTED.




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